          Case 19-71228               Doc 4-1 Filed 10/10/19 Entered 10/10/19 08:34:08                                 Desc Ch 7
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Information to identify the case:
Debtor 1              Rickey S. Carter                                                  Social Security number or ITIN        xxx−xx−3314
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Georgia
                                                                                        Date case filed for chapter 7 10/9/19
Case number:          19−71228 JTL


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Rickey S. Carter

2.      All other names used in the
        last 8 years

3.     Address                               235 Walton Way
                                             Nashville, GA 31639

4.     Debtor's attorney                     Thomas D. Lovett                                       Contact phone 229−242−8838
                                             Kelley, Lovett, Blakey and Sanders, P.C.               Email tlovett@kelleylovett.com
       Name and address                      P.O. Box 1164
                                             2912−B North Oak Street
                                             Valdosta, GA 31603−1164

5.     Bankruptcy trustee                    Robert M. Matson                                       Contact phone 478−742−1889
                                             Chapter 7 Trustee
       Name and address                      P.O. Box 309
                                             Macon, GA 31202
                                                                                                               For more information, see page 2 >
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Debtor Rickey S. Carter                                                                                                Case number 19−71228 JTL


6. Bankruptcy clerk's office                    901 Front Avenue                                              Hours open: Monday − Friday 8:30
                                                P.O. Box 2147                                                 AM − 5:00 PM
    Documents in this case may be filed at this Columbus, GA 31902
    address. You may inspect all records filed                                                                Contact phone (706) 649−7837
    in this case at this office or online at
    www.pacer.gov.
                                                                                                              Date: 10/10/19

7. Meeting of creditors                          November 18, 2019 at 12:00 PM                                Location:

    Debtors must attend the meeting to be           The meeting may be continued or adjourned to a Room 257, U.S. Courthouse,
    questioned under oath. In a joint case,         later date. If so, the date will be on the court            North Patterson Street, Valdosta,
    both spouses must attend. Creditors may
    attend, but are not required to do so.          docket.                                                     GA 31601
    At the meeting the trustee may abandon all scheduled property pursuant to 11 USC § 554. Creditors seeking abandonment of property should attend
    this meeting and provide the documentation necessary to prove their interest. Unless a written objection is filed within 14 days, the decision of the
    trustee is final. Pursuant to Rule 6007, if a timely objection is made, the court shall schedule a hearing.


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 1/17/20
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                            Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as          conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2
